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      In The United States Court of Federal Claims
                                             No. 09-814C

                                       (Filed: July 15, 2011)
                                            __________

 PEW FOREST PRODUCTS,

                                Plaintiff,

                         v.

 THE UNITED STATES,

                                Defendant.

                                              _________

                                               ORDER
                                              _________

       On July 14, 2011, defendant filed a motion for an enlargement of time. The motion is
hereby GRANTED, in part, and DENIED, in part. Accordingly:

       1.       On or before July 20, 2011, defendant shall file its response to
                plaintiff’s cross-motion for summary judgment and its reply in
                support of its motion for summary judgment; and

       2.       On or before August 8, 2011, plaintiff shall file its reply to
                defendant’s response to its cross-motion for summary judgment.

       No further enlargements of these deadlines will be granted.

       IT IS SO ORDERED.



                                                          s/ Francis M. Allegra
                                                          Francis M. Allegra
                                                          Judge
